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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                 Southern District
                                                __________ Districtofof
                                                                      New  York
                                                                        __________

                        T.D. Bank, N.A.                           )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                      Civil Action No.
                                                                  )
 202-4 West 23rd Street Corp. d/b/a Chelsea Savoy                 )
                       Hotel
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) 202-4 West 23rd Street Corp. d/b/a Chelsea Savoy Hotel
                                       204 West 23rd Street
                                       New York, New York 10011




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: ANDERSON KILL P.C.
                                       Diana Shafter Gliedman, Esq.
                                       Regan E. Samson, Esq.
                                       1251 Avenue of the Americas
                                       New York, NY 10020
                                       Telephone: (212) 278-100
                                       Email: dgliedman@andersonkill.com; rsamson@andersonkill.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:             02/09/2024                                                                /S/ V. BRAHIMI
                                                                                     Signature of Clerk or Deputy Clerk
